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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

AIDA ELZAGALLY, et al.,                        )
                                               )
        Plaintiffs,                            )
                                               )
        vs.                                    )         Civil Action No. 1:19cv853
                                               )
KHALIFA HIFTER,                                )
                                               )
      Defendant.                               )
_________________________________              )

                      NOTICE BY THE UNITED STATES OF AMERICA

        In a letter dated October 26, 2020 (Dkt. No. 45), this Court invited the United States

Department of State to provide its input concerning whether the above-captioned action, and a

second civil action styled as Al-Suyid, et al. v. Hifter, No. 1:20cv170 (E.D. Va.), “should proceed

in this Court.” On January 4, 2021, the United States – on behalf of the State Department – filed

a notice declining to file a Statement of Interest pursuant to 28 U.S.C. § 517 (Dkt. No. 46).

        In a second letter dated April 5, 2021 (Dkt. No. 60), this Court once again invited the

State Department to provide its input concerning whether the above-captioned action, the Al-

Suyid action, and a newly-filed third action styled as Hamza, et al. v. Hifter, 1:20cv1038 (E.D.

Va.), “should proceed in this Court.” This Court’s letter specifically noted that its renewed

solicitation was made “[a]s a courtesy to the new administration,” and requested a response from

the State Department by May 14, 2021.

        The State Department again sincerely appreciates this Court’s invitation to express its

views on the issues presented in these three civil actions. But after careful deliberation, the

United States politely declines to file a Statement of Interest, pursuant to 28 U.S.C. § 517, at this

time.

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                                   Respectfully submitted,

                                   RAJ PAREKH
                                   ACTING UNITED STATES ATTORNEY

                             By:              /s/________________
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DATE: May 14, 2021                 ATTORNEYS FOR THE UNITED STATES OF
                                   AMERICA




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send a Notice of Electronic Filing (“NEF”) to the
following:

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Date: May 14, 2021                                       /s/________________
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